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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
MARK MOORE, et al., Plaintiffs, )
Vv. Case No. 4:14-CV-65-JM
MARK MARTIN, in his official capacity as
Arkansas Secretary of State, Defendant. )

PLAINTIFF MOORE’S RESPONSE AND MEMORANDUM BRIEF
IN OPPOSITION TO DEFENDANT MARTIN’S MOTION TO VACATE THE
JUDGMENT AS MOOT AND BRIEF IN SUPPORT

After partial reversal and remand by the U.S. Court of Appeals for the
Eighth Circuit on April 26, 2017, for further proceedings consistent with the views
set forth in the Eighth Circuit’s opinion, Moore v. Martin, 854 F.3d 1021, 1028-
1029 (8" Cir. 2017), a non-jury trial was held before the District Court on
December 12, 2017 [Doc. No. 90]. Thereafter, an order and a judgment against
Defendant Mark Martin (hereinafter referred to as “Defendant and/or Secretary of
State”) were entered by the District Court on January 25, 2018 [Doc. Nos. 65 and
66], as corrected in an Amended Order on January 31, 2018 [Doc. No. 67] granting
declaratory relief which declared certain election laws as to Independent candidates
unconstitutional and specific injunctive relief as to Plaintiff Moore only for the
2018 Arkansas election. In its decision of January 25, 2018, as amended on
January 31, 2018 [Doc. Nos. 65 and 67], the Court found that “. . . the Arkansas

election laws in question are unconstitutional as a violation of the First and
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Fourteenth Amendments to the United States Constitution and to 42 U.S.C., § 1983
to the extent they set an unnecessary March 1* deadline which is not narrowly
drawn to serve a compelling state interest.” [Doc. No. 67, Amended Order, § 36].
The Arkansas election laws in question held unconstitutional as to Independent
candidates are Ark. Code Ann. §§ 7-7-101, 7-7-103, and 7-7-203(c)(1).

On February 22, 2018, Secretary of State filed a Notice of Appeal to the U. S.
Court of Appeals for the Eighth Circuit [Doc. No. 77]. Thereafter, on March 7,
2018, the Secretary of State filed a Motion to Vacate Injunction as Moot, and
Alternative Motion to Stay Injunction Pending Appeal with a supporting Brief
[Doc. Nos. 83 and 84]. After Plaintiff Moore filed a response to the Secretary of
State’s aforesaid motion to vacate on March 14, 2018 [Doc. No. 85], the Secretary
of State filed a reply brief to Plaintiff's Response on March 21, 2018 [Doc. No.
86]. On March 29, 2018, the District Court, pursuant to Fed. R. Civ. Proc. 62.1,
filed an order deferring ruling on the motion to vacate and held in abeyance
pending appeal Plaintiff's motions for costs and attorney fees [Doc. No. 89].

On April 6, 2018, Defendant filed with the Eighth Circuit a Motion to Stay
Injunction setting May 1, 2018, as deadline for Plaintiff to file Independent
candidate petitions pending appeal; and Alternative Motion to Vacate, Set Aside,
Dissolve, and Hold for Naught Injunction Setting May 1 Deadline. An Amended

Notice of Appeal was filed by the Secretary of State on April 9, 2018 [Doc. No.
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92]; and a Joint Appendix in three volumes was filed with the Eighth Circuit on
April 13, 2018. Thereafter, on April 14, 2018, Plaintiff Moore filed a response to
Defendant’s aforesaid motion in the Eighth Circuit, with Defendant then filing a
reply in the Eighth Circuit to Plaintiff’s response on April 20, 2018.

On April 26, 2018, the Eighth Circuit filed an Order that the matter was
remanded to the District Court “. . . for the purpose of considering an amendment
to its January 31, 2018 Amended Order. The clerk of the district court is directed
to notify the clerk of this court upon the entry of court’s order on remand.” The
aforesaid order of the Eighth Circuit was also filed in the District Court on April
26, 2018 [Doc. No. 94], while Defendant filed in the District Court a Renewed
Motion to Vacate the Injunction as Moot and Memorandum Brief in Support [Doc.
No. 93], with Plaintiff then filing on April 26, 2018, a Response and Memorandum
Brief to Defendant’s Renewed Motion to Vacate the Injunction as Moot and
Memorandum Brief in Support and the Order on April 26, 2018, of the Eighth
Circuit [Doc. No. 95].

On April 30, 2018, the District Court entered an amended order [Doc. No. 96]
which stated in part that “Plaintiff may file his petition to run for office as an
independent candidate, political practices pledge, affidavit of eligibility, and notice
of candidacy on or before May 1, 2018.” The District Court also entered on April

30, 2018, an order denying both Defendant’s motion to vacate injunction as moot
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and Defendant’s renewed motion to vacate the injunction as moot [Doc. No. 97].
Plaintiff Moore filed his Independent candidate petitions, political practices pledge,
affidavit of eligibility, and notice of candidacy with the Secretary of State’s office
on April 30, 2018 (an Affidavit of Plaintiff Mark Moore is marked Plaintiff's
Exhibit “1”, attached hereto, and made a part of this Response and Memorandum
Brief as though fully set forth herein for the purpose of explaining the effects of the
delays and uncertainty created by the Defendant and the change in circumstances
and reason why Plaintiff Moore switched from filing for Lt. Governor to State
Senator). On May 4, 2018, the Secretary of State’s office sent a letter to Plaintiff
informing him that he had turned in insufficient “valid” signatures and that his
name would not appear on the ballot as an Independent candidate. Thereafter, on
May 7, 2018, the Eighth Circuit denied as moot Defendant’s Motion to Stay the
Injunction and ordered Appellant’s brief and appendix to be filed by May 29, 2018.

Defendant next filed in the District Court a motion to vacate the judgment as
moot and brief in support on Friday evening, May 18, 2018 [Doc. Nos. 98 and 99].
Defendant then filed on May 22, 2018, a second amended notice of appeal to the
United States Court of Appeals for the Eighth Circuit [Doc. No. 100]. After the
Defendant/Appellant Martin filed a motion in the Eighth Circuit on May 22, 2018,
for an extension of time of an additional 30 days from May 29, 2018, to file his

brief, the Eighth Circuit on May 23, 2018, granted the motion in part and gave him
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until June 19, 2018, to file the brief and appendix. Plaintiff now files a response
and memorandum brief in opposition to Defendant’s motion to vacate the judgment
as moot and brief in support, requests that the Court deny Defendant’s motion to
vacate the judgment as moot, and leave further decision on the issue of mootness,
as well as on the merits of the appeal, to the Eighth Circuit.

ARGUMENT

Defendant Secretary of State’s aforesaid Motion to Vacate the Judgment as
moot is without merit because it is not supported by the cases cited by Defendant
in his brief, not appropriate or authorized at this time, and--as a practical matter—
is rather pointless. Plaintiff Moore has had the benefit of specific injunctive relief
granted him by the District Court. There is nothing to be gained by declaring the
injunctive relief to now be moot. Defendant has cited no election law ballot access
cases where, after a plaintiff has had the benefit of injunctive relief, the entire case
then becomes moot. Just as in this Court’s decision reviewed in Libertarian Party
of Arkansas v. Martin, 876 F.3d 948 (8" Cir. 2017), where the District Court
denied any injunctive relief to the Plaintiffs, but granted declaratory relief
declaring the election laws in question unconstitutional, the case did not become
moot as to the declaratory relief granted until the General Assembly of Arkansas

amended and corrected the laws in question and the Governor signed the new
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election laws. Defendant’s aforesaid motion is without merit and should be denied
by the District Court.

It was Plaintiff Moore’s understanding that the District Court (in setting a
May 1, 2018, deadline for filing his petition to run for office as an Independent
candidate) would also allow him to be able to file his political practices pledge,
affidavit of eligibility, and notice of candidacy at the same time his Independent
petitions were filed. Ark. Code Ann. § 7-7-103(a) (1). However, this
understanding was called into question and uncertainty created by the various
pleadings filed by the Defendant, which were not finally decided until settled by
this Court in its amended order of April 30, 2018 [Doc. No. 96]. The Secretary of
State’s appeal and motions to vacate the injunctive relief granted by the District
Court under the incorrect interpretation of the election laws by the Secretary of
State created a degree of uncertainty which negatively impacted Plaintiff Moore
and his supporters, thus necessitating changes in his plans and conduct in obtaining
petition signatures as an Independent candidate for elective office in Arkansas this

year. (As to Plaintiff's change in plans and the reasons therefor, see Plaintiff's

Exhibit “1” attached hereto, Affidavit of Mark Moore, [ff 2-4).

As noted in previous pleadings by Plaintiff Moore, once a notice of appeal is filed,
the District Court does not usually have jurisdiction to consider Fed. R. Civ. Proc. 60(b)

motions unless the District Court decides to deny the motion. A motion filed under Fed.
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R. Civ. P. “. . . 60(b) operates to relieve a party from judgment only upon such terms as
are just. It is an extraordinary procedure that permits a court which rendered judgment to
grant relief from the judgment upon a showing of good cause within the rule. It is
clearly not a substitute for appeal and must be considered with the obvious need for
the finality of judgments” [Emphasis added]. Brown v. McCormick, 608 F.2d 410, 413
(10" Cir. 1979). As emphasized in one of the cases cited by the Defendant in his Brief:
“Relief under Rule 60(b) is extraordinary in nature and motions invoking that rule
should be granted sparingly.” Daniels v. Agin, 736 F.3d 70, at 86 (1% Cir. 2013), quoting,
Nansamba v. N. Shore Med Ctr., Inc., 727 F.3d 33, 37 (1* Cir. 2013) (quoting Karak v.
Bursaw Oil Corp., 288 F.3d 15, 19 (1* Cir. 2002)). Defendant calls on the District Court
to forget the dictates of the Eighth Circuit in deciding the five questions asked by the
Eighth Circuit for the District Court to decide. The District Court having followed the
dictates of the Eighth Circuit, having declared the laws in question unconstitutional, and
having given injunctive relief to Plaintiff, there remains nothing to relieve the Defendant
of because Plaintiff has received the benefit of the injunctive relief he requested.

Since this case involves a Rule 60(b) motion filed after an appeal has been
initiated, it is important, as noted in previous pleadings by Plaintiff, to know that several
Circuits have held that a District Court has jurisdiction and may consider and deny a Fed.
R. Civ. Proc. 60(b) motion during pendency of appeal, but may grant such motion only
upon expressing its inclination to do so and the parties obtaining remand from the Circuit
Court of Appeals. Chicago Downs Ass’n. v. Chase, 944 F.2d 366 (7" Cir. 1991);

Shepherd v. Int’l Paper Co., 372 F.3d 326, 329 (5" Cir. 2004); Selletti v. Carey, 173 F.3d
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104 (2"4 Cir. 1999). Fed. R. Civ. Proc. 62.1(a) does give the District Court authority to
defer considering the motion, deny the motion, or state either that it would grant the
motion if the Court of Appeals remands for that purpose, or that the motion raises a
substantial issue. Since it is not necessary to grant the motion because of the argument
set forth herein, the District Court should deny Defendant’s motion and leave further
consideration of this case to the Eighth Circuit.

The District Court’s decision and judgment in question herein [Doc. Nos. 65, 66,
67, and 96] were the result of two specific remands from the Eighth Circuit: first, as to
five questions to be answered: (1) what periods of time between the former May |
deadline for Independent candidate petitions and the early July deadline for initiative
petitions were available for Arkansas to process Independent candidate petitions; (2)
when Independent candidate petitions were, in fact, processed in the past; (3) during the
2014 election cycle, after the move of the deadline from May 1 to March 1, whether
Independent candidate petitions were processed between those two dates; (4) the amount
of time required to process Independent candidate petitions; and (5) the feasibility of
temporarily hiring additional election workers; Moore v. Martin, 854 F.3d 1021, 1028
(8" Cir. 2017); and, second, as to answering whether the Plaintiff Moore could have until
May 1, 2018, to file his political practices pledge, affidavit of eligibility and notice of
candidacy at the same time he filed his Independent petitions. These questions were
addressed and answered by the District Court [Doc. Nos. 65, 67, and 96].

However, Defendant continues to argue the standing issue on which he was

unsuccessful in the District Court before the first appeal [Order of August 25, 2015, Doc.
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No. 37, pp. 5-7] and unsuccessful before the Eighth Circuit on appeal. Moore v. Martin,
Id. As noted above, the Eighth Circuit was very specific in its decision as to what
questions it wanted answered on remand. Moore v. Martin, 854 F.3d at 1028. At the
trial on December 12, 2017, the evidence presented on the material issues was
overwhelmingly in favor of the Plaintiff and against the Defendant’s argument that the
March | Independent petition deadline was necessary. The Defendant’s own witness
basically admitted that a May | deadline could be met, that the March | deadline wasn’t
necessary, that temporary workers had been hired before, and that the rate of verifying
petition signatures (4-5 per minute per worker) could handle the petitions submitted and
get the job done. However, Defendant continues to argue previously unsuccessful issues
as to standing, mootness, and injury.

Defendant’s new mootness argument does not take into consideration the fact that
election law cases involving ballot access are different in that the issues raised therein are
capable of repetition yet evading review—as this Court noted in its order of August 25,
2015 [Doc. No. 37, pp. 5-6]. Numerous ballot access cases have allowed cases to
continue even after the elections are over which the candidates and their supporters were
contesting. It is well established that election law cases involving ballot access are cases
where the controversy is “capable of repetition, yet evading review” and, therefore, an
exception to the usual mootness rule which would deny Plaintiff's standing. Anderson v.
Celebrezze, 460 U.S. 780, 784 n.3 (1983); Mandel v. Bradley, 432 U.S. 173, 175 n.1
(1977); Storer v. Brown, 415 U.S. 724, 737 n. 8 (1974); Rosario v. Rockefeller, 410 U.S.

752, 756 n.5 (1973); Dunn v. Blumstein, 405 U.S. 330, 332 n.2 (1972); Moore v. Ogilvie,
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394 U.S. 814, 816 (1969); Blomquist v. Thomson, 739 F.2d 525, 527 n.3 (10 Cir. 1984);
Pilcher v. Rains, 853 F.2d 334, 335 n.1 (5" Cir. 1988), aff’g. 683 F.Supp. 1130 (W.D.
Tex. 1988); MacBride v. Exon, 558 F.2d 443, 447 (8 Cir. 1977); McLain v. Meier, 612
F.2d 349, 355 (8" Cir. 1979); and McLain v. Meier, 637 F.2d 1159, 1162 n.5 (8" Cir.
1980). Because the election laws in question herein will affect candidates in similar
situations in future elections, this case presents a controversy capable of repetition, yet
evading review. This is particularly true considering that the instant case was remanded
from the Eighth Circuit for the purpose of the District Court answering certain specified
questions in determining whether the election laws in question were constitutional.
Moore v. Martin, Id. As the Eighth Circuit has commented, regardless of the Plaintiff's
“.. candidacy in any future election, election law controversies tend not to become
moot.” McLain v. Meier, 637 F.2d at 1162 n.5. Thus, Plaintiff Moore has standing under
Article III of the U.S. Constitution and the case has not become moot. In the context of
election cases, application of the doctrine is appropriate in both “as applied” challenges
as well as facial challenges. Storer v. Brown, 415 U.S. at 737 n.8. Further, the doctrine
should be applied to election statutes when “[t]he construction of the statute, and
understanding of its operation, and possible constitutional limits on its application, will
have the effect of simplifying future challenges, thus increasing the likelihood that timely
filed cases can be adjudicated before an election is held. Jd. It is interesting that
Defendant managed to file his brief with this Court without mentioning any of the

foregoing cases concerning mootness.

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As noted in the third McLain v. Meier case decided in 1988, the Eighth Circuit has
been clear that a voter has a right to challenge ballot access laws, even if the voter is
ineligible and cannot be a candidate, because the voter has a right to cast his vote
effectively and have the ability to challenge laws which restrict his ability to vote for the
candidate of his choice or dilute the effect of his vote if his chosen candidate were not
fairly presented to the voting public. McLain v. Meier, 851 F.2d 1045, 1047-1048 (8%
Cir. 1988); see also, Williams v. Rhodes, 393 U.S. 23, 45-46, 66 (1968); and Moore v.
Martin, 854 F.3d at 1025. Standing has been decided as to declaratory relief in the case
at bar because “[t]he law of the case doctrine prevents the relitigation of a settled issue in
a case and requires courts to adhere to decisions made in earlier proceedings in order to
ensure uniformity of decisions, protect the expectations of the parties, and promote
judicial economy.” United States v. Bartsh, 69 F.3d 864, 866 (8" Cir. 1995) (citing
Bethea v. Levi Strauss & Co., 916 F.2d 453, 456-457 (8" Cir. 1990).

As to the injunctive relief granted to Plaintiff, Defendant’s motion fails to mention
that Plaintiff had the benefit of the injunctive relief granted by the Court. The District
Court’s injunctive relief granted Plaintiff the opportunity to achieve ballot access as an
Independent candidate, not the successful Independent candidacy itself. Plaintiff Moore
has had the benefit of the injunctive relief granted him. Further, the injunctive relief
granted by the District Court was limited only to Plaintiff Moore, was not ongoing, and
was not a judgment or order that was of prospective force as to other individuals as to the
injunctive relief granted Plaintiff Moore—which is an indispensable condition for

obtaining relief from that judgment or order as noted in one of the cases cited by

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Defendant in his brief. See, Tapper v. Hearn, 833 F.3d 166, at 170-172 (2"4 Cir. 2016).

More importantly, the Eighth Circuit’s decision in MacBride v. Exon, 558 F.2d
443 (8' Cir. 1977), gives particularly relevant guidance to the specific issue brought up
by Defendant in his brief and shows why his new motion to vacate is meritless. In
deciding certain Nebraska election laws were unconstitutional as applied to third party
and Independent Presidential candidates and their supporters, the District Court had
granted specific relief in the case to the Libertarian candidate for President, Roger
MacBride, and an Independent candidate for President in a companion case, Eugene
McCarthy, which resulted in their names being put on the ballot. MacBride v. Exon, 558
F.2d at 445. After the election was over and neither candidate had won any state,
including Nebraska, as noted by the Court of Appeals, the Eighth Circuit went on to state
that: “The coercive feature of the judgment has gone out of the case, but the fact that the
election has taken place does not render the controversy about the constitutionality of the
Nebraska statutes moot.” MacBride v. Exon, 558 F.2d at 447 (citing Storer v. Brown,
415 U.S. 724, 737 n.8 and Lendall v. Bryant, 387 F.Supp. 397, 399 (E.D. Ark. 1975).
Finally, in conclusion the Eighth Circuit used wording commenting on the District
Court’s decision which could be specifically applied at this time in the instant case.

As we view it, the judgment of the district court now stands as a

declaratory judgment only. The problem presented by this case may or

may not arise in 1980, but it is certain to arise in some future presidential

year. It is, of course, open to the Nebraska Legislature to address itself

to the problem.

The judgment of the district court is affirmed. MacBride v. Exon,
558 F.2d at 449-450.

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As to Defendant’s argument on page 4 of his brief that “Plaintiff Moore’s failure
to file sufficient petition signatures by the May | [deadline] would have changed the
result for a new trial to be granted”, not only does said argument suppose an impossible
projection of a then future fact into the past and, therefore, lacks persuasive substance,
but the three cases cited by Defendant are not on point and do not support his argument
because in each one of the cases, while there is a Rule 60(b) motion filed in the District
Court (or Bankruptcy Court) and an appeal has been initiated, the cases are not election
law ballot access cases, the District Court (or Bankruptcy Court) granted summary
judgment in favor of the Defendant (or U.S. Trustee) after the filing of a motion for
summary judgment, the Plaintiff (or Debtor) filed the Rule 60(b) motion alleging a
different result because of newly discovered evidence, the District Court (or Bankruptcy
Court) denied the Rule 60(b) motion filed by the Plaintiff (or Debtor), and the Court of
Appeals affirmed the District Court (or Bankruptcy Court). Daniels v. Agin, 736 F.3d at
86 (summary judgment granted in favor of U.S. Trustee by bankruptcy court, then, when
reconsideration was urged it was denied again, and two more renewals of the motion
were similarly denied, Debtor’s Fed. R. Civ. Proc. 60(b) motion denied by bankruptcy
court, and bankruptcy court affirmed by the Court of Appeals); Thermacor Process, L.P.
v. BASF Corp., 567 F.3d 736, 744 (5" Cir. 2009) (summary judgment granted in favor of
Defendant by District Court, Fed. R. Civ. Proc. 60(b) motion denied, and District Court
affirmed by the Court of Appeals); and Feature Rity., Inc. v. City of Spokane, 331 F.3d
1082, 1093 (9" Cir. 2003) (summary judgment granted in favor of Defendant by District

Court, Fed. R. Civ. Proc. 60(b) motion denied, and District Court affirmed by the Court

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of Appeals). In other words, in each of the aforesaid three cases cited by Defendant, a
similar argument was made as made by the Defendant herein and both the District Court
(or Bankruptcy Court) denied the Rule 60(b) motions and the Court of Appeals affirmed
the District Court (or Bankruptcy Court) in its decision.

The remaining cases cited by the Defendant are not on point, are not—with one
exception!--cases involving ballot access election laws being declared unconstitutional,
and do not support in any way Defendant’s motion to vacate the judgment as moot.
Mootness does not arise in an election law case because of the general rule that election
law cases are exceptions to the general rule, unless, of course, the Arkansas General
Assembly and Governor should approve a new amended law which corrects the laws in
question, as was done in the case of Libertarian Party of Arkansas v. Martin, Id. The
cases cited by Defendant do not say otherwise. Agostini v. Felton, 521 U.S. 203, 215
(1997) (which involved state aid to parochial schools which had been declared
unconstitutional in an earlier district court decision, a continuing injunction against the
law, and the effect of a new U.S. Supreme Court decision on the former District Court
decision, thus justifying a Rule 60(b) (5) motion by a 5-4 vote of the U.S. Supreme
Court). Hayden v. Pelofsky, 212 F.3d 466, 469 (8" Cir. 2000) (which involved a chapter
12 bankruptcy plan that had already been completed because the debtors had made all the
payments under the plan, but still held that the trustee’s appeal was not moot as to the
issue of fees); Beck v. Mo. State High Sch. Activities Ass’n., 18 F.3d 604, 605-606 (8®

Cir. 1994)(which involved an athlete transferring from a public to a non-public high

' The one exception is the case of Libertarian Party of Arkansas v. Martin, Id.

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school and being ineligible to participate in interscholastic sports for one year, but
becoming eligible again because more than a year had passed since he brought the
lawsuit, thus mooting the case); Spencer v. Kemna, 523 U.S. 1, 7 (1998)(which involved
a federal habeas corpus petition case under 28 U.S.C. § 2254 which was found to be
moot because the petitioner was no longer imprisoned); Ali v. Cangemi, 419 F.3d 722 (8"
Cir. 2000)(which involved a habeas corpus petition in a deportation case where the
petitioner was no longer in custody); Powell v. McCormick, 395 U.S. 486, 496 n.1 (1969)
(which involved a finding that it had been error to dismiss Congressman Powell’s
complaint as to his being expelled from the 90" Congress, even though he had been
seated in the 91% Congress, because there was still the back issue of his salary for the 90"
Congress so that the case was not moot); Teague v. Cooper, 720 F.3d 973, 976, 977 (8%
Cir. 2013) (which involved a race based transfer law that had been repealed
unconditionally, and, therefore, the case was moot); Valero Terrestrial Corp. v. Paige,
211 F.3d 112, 115, 118 n.2, 123 (4 Cir. 2000) (which involved provisions of the West
Virginia Code pertaining to waste disposal and management being declared
unconstitutional and which were later repealed and amended by the State legislature, thus
mooting the case).

Plaintiff Moore continues to have standing pursuant to the 1988 case of MeLain v.
Meier, Id., wherein the Plaintiff was granted standing to challenge the election law by
virtue of him being a registered voter, even though he was unqualified to run for the
elective office in question because he was too young to be President of the United States.

Also see Storer v. Brown, Id. (where some of the plaintiffs didn’t even try to obtain ballot

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status); Libertarian Party of Arkansas v. Martin, Id. (where injunctive relief was denied
the plaintiffs, but election law declared unconstitutional, with case only becoming moot
after the laws were amended, but with the award of attorney fees and costs affirmed); and
the instant case (where Plaintiff Moore was granted injunctive relief and the election laws
in question were declared unconstitutional). Defendant’s additional cases cited in his
brief are not on point. Lewis v. Continental Bank Corp., 494 U.S. 472, 477 (1990)
(involved the Bank Holding Company Act of 1956, with the case being rendered moot by
amendments to the law subsequently passed): City of Mesquite v. Aladdin’s Castle, Inc.,
455 U.S. 283, 289 n.10 (1982) (which involved a city’s licensing ordinance governing
coin-operated amusement establishments, the denial of a license, a declaration that the
law was partly unconstitutional, the city’s repeal of the objectionable language in the
ordinance, but with no certainty that it wouldn’t be reinstated, and, therefore, the case
was not moot); Faibisch v. Univ. of Minnesota, 304 F.3d 797, 801 (8" Cir. 2002) (which
involved a claim under the Americans with Disabilities Act where the Eighth Circuit
found that there was no standing for injunctive relief because Plaintiff had no clear
intention of seeking reinstatement); Friedmann v. Sheldon Cmty. Sch. Dist., 995 F.2d
802, 804 (8 Cir. 1993)(which involved standing in an objection to a religious invocation
at a public school, wherein the court found there was no standing because the plaintiffs
were not graduating students, parents of students, residents in the school district, and had
no intention of attending the graduation ceremony); Tapper v. Hearn, 833 F.3d 166, 169,
172 (2"4 Cir. 2016)(which involved a case challenging contribution restrictions within

New York City’s campaign finance laws and, after dismissal of the case by the District

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Court, a Rule 60(b) motion filed several years later based on a new standard of review
from a recent U.S. Supreme Court case--which was alleged would have changed the
earlier result, still resulted in the denial of the Rule 60(b) motion by the District Court
and affirmation thereof by the Second Circuit); Horne v. Flores, 557 U.S. 433, 447
(2009) (which involved the Equal Educational Opportunities Act of 1974, a denial of a
Rule 60(b)(5) motion by the district court because the school district had not made
sufficient progress in its ELL programming to warrant relief, and affirmation by the
Court of Appeals, but a 5-4 decision by the U.S. Supreme Court ordering the case
remanded and consideration of whether vacating the injunction to the extent that there
were changed circumstances or it improperly had an effect outside of the school district
because Rule 60(b)(5) permits a party to obtain relief for prospective application of an
injunction when applying it prospectively is no longer equitable); and Rufo v. Inmates of
Suffolk Cty. Jail, 502 U.S. 367, 383-384 (1992) (which involved modification and
institutional reform legislation of a consent decree as to jail conditions).

CONCLUSION

There is no harm to Defendant by leaving the injunctive relief in place because
Plaintiff failed to submit a sufficient number of valid petition signatures by May 1, 2018.
The foregoing result is dictated by considerations of judicial economy and common
sense. No vacating of the Court’s injunctive relief is necessary because Plaintiff has
already had the benefit of it and the injunctive relief has no prospective application, the
issue of mootness as to injunctive relief can be taken up and submitted to the Eighth

Circuit during the regular course of the appeal process, and the declarative relief granted

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by this Court is certainly not moot. The injunctive relief granted to Plaintiff Moore by
the District Court was not that he have the guaranteed result of being put on the ballot as
an Independent candidate, but only that he have an opportunity to obtain ballot access by
successfully petitioning. After all, an Independent candidate failing in his petition drive
for ballot access is like a Republican or Democratic candidate failing to win his or her
political party primary election. Many ballot access election cases are not finally decided
until after the election is over. See the Eighth Circuit’s decision in MacBride v. Exon,
Id., as well as the Eighth Circuit’s decision in the three McLain v. Meier cases.

Wherefore, premises considered, Plaintiff Moore requests the Court deny
Defendant’s aforesaid motion and leave further consideration of this matter to the Court
of Appeals.

Respectfully submitted this 31S' day of May, 2018.

Mark Moore, Plaintiff

/s/ James C. Linger

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CERTIFICATE OF ELECTRONIC SERVICE

I hereby certify that a true and exact copy of the foregoing has been served on all
counsel of record via the Court’s CM/ECF e-mail notification system on the 31‘ day of

May, 2018.

/s/ James C. Linger
James C. Linger

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